                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                      September 16, 2022

Via ECF
The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 518
New York, New York 10007

       Re:    United States v. Sayfullo Habibullaevic Saipov, S1 17 Cr. 722 (VSB)

Dear Judge Broderick:

       The Court has previously requested updates on the status of the defendant’s request to the
Attorney General to withdraw the Notice of Intent to Seek the Death Penalty in this case. (Dkt.
No. 80). We were notified today that the Attorney General has decided to continue to seek the
death penalty. We conveyed this decision to defense counsel and the victims.


                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney

                                                By:          /s/
                                                      Andrew Dember
                                                      Amanda Houle
                                                      Jason A. Richman
                                                      Alexander Li
                                                      Assistant United States Attorneys
                                                      (212) 637-2563/2194/2589/2265

cc:    Defense counsel (via ECF)
